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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                  TYLER DIVISION

UNITED STATES OF AMERICA                       §
                                               §
v.                                             §            CRIMINAL NO. 6:07-CR-82-11
                                               §
JUSTIN JAKE NEWMAN                             §

                ORDER ON REVOCATION OF SUPERVISED RELEASE

       The above entitled and numbered criminal action was referred to United States Magistrate

Judge John D. Love pursuant to 28 U.S.C. § 636(b)(3). The Report of the Magistrate Judge, which

contains his proposed findings of fact and recommendations for the disposition of such action, has

been presented for consideration. The parties waived objections to the Report and

Recommendations.

       The Court is of the opinion that the findings and conclusions of the Magistrate Judge are

correct. Therefore, the Court hereby adopts the Report of the United States Magistrate Judge as the

findings and conclusions of this Court.

        So ORDERED and SIGNED this 5th day of January, 2012.




                                __________________________________
                                LEONARD DAVIS
                                UNITED STATES DISTRICT JUDGE
